     Case 2:17-cv-02386-ODW-PLA Document 89 Filed 10/05/18 Page 1 of 1 Page ID #:707




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER
Kevin A.Shaw,
                                                                             2:17-cv-02386-ODW-PLA
                                                Plaintiffs)
                              v.

Kathleen F. Burke, et al.,                                                    MEDIATION REPORT

                                                Defendant(s).

Instructions: The mediator mustfile this Report within 5 days after the conclusion ofa mediation
session even ifthe negotiations continue. Ifthe case later settles with the assistance ofthe mediator,
the mediator mustfile a subsequent Report.

         ~ A mediation was held on (date): October 3, 2018

         ❑ A mediation did not take place because the case settled before the session occurred.

2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                  ❑
                  ✓ Appeared as required by Civil L.R. 16-15.5(b).
                 ❑ Did not appear as required by Civil L.R. 16-15.5(b).
                           ❑ Plaintiff or plaintiffs representative failed to appear.
                           ❑ Defendant or defendant's representative failed to appear.
                           ❑ Other:

3.      Did the case settle?                 lye-y'~~                 ~ 1       J
                 ❑ Yes, fully, on                                  (date).       ~    -~~ ~~.~ ~ ~~.-c,
                 ✓ Yes, partially and further facilitated discussions are expected.(See No. 4 below.)
                 ❑
                 ❑ Yes, partially, and further facilitated discussions are not expected.
                 ❑ No, and further facilitated discussions are expected.(See No. 4 below.)
                 ❑ No,and further facilitated discussions are not expected:
4.      Iffurther facilitated discussions are expected, by what date will you check in with the parties?
        As needed

Dated: October 5,2018                                                     C ~ CC
                                                                              Si nature of Mediato
                                                                                  Gail Killefer
The Mediator must electronicallyfile original document in CM/                 Name of Mediator (print)
ECF using one offour choices under "Civil=> Other Filings =>
ADR/Mediation Documents => Mediation Report(ADR-3)."


ADR-03(03/17)                                         MEDIATION REPORT                                     Page 1 of 1
